     Case 2:20-cv-11144-KK Document 27 Filed 11/29/21 Page 1 of 1 Page ID #:802




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9                           UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11
      AUSTBERTO MOLINA, JR.,                   )   No. CV 20-11144-KK
12                                             )
13            Plaintiff,                       )   ORDER AWARDING EQUAL
                                               )   ACCESS TO JUSTICE ACT
14                   v.                        )   ATTORNEY FEES AND COSTS
15                                             )
      KILOLO KIJAKAZI, Acting                  )
16
      Commissioner of Social Security,         )
17                                             )
18            Defendant.                       )
                                               )
19
              Based upon the parties’ Stipulation for Award and Payment of Attorney
20
      Fees:
21
              IT IS ORDERED that the Commissioner shall pay attorney fees and
22
      expenses the amount of THREE THOUSAND EIGHT HUNDRED THIRTY-
23
      FIVE DOLLARS and EIGHTY-EIGHT CENTS ($3,835.88), and costs under 28
24
      U.S.C. § 1920 in the amount of ZERO DOLLARS ($0.00), as authorized by 28
25
      U.S.C. §§ 2412(d), 1920, subject to the terms of the above-referenced Stipulation.
26
27    Dated: November 29, 2021 ________________________________
28                                          THE HONORABLE KENLY KIYA KATO
                                            UNITED STATES MAGISTRATE JUDGE


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